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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

 DECAPOLIS SYSTEMS, LLC,                           §
                                                   §
             Plaintiff,                            §
                                                   §
 v.                                                §    Case No. 2:22-cv-00146-JRG-RSP
                                                   §
 MEDSYS GROUP, LLC, TENET                          §
 HEALTHCARE CORORATION,                            §
 UNIVERSAL HEALTH SERVICES, INC.,                  §
 and TYLER TECHNOLOGIES, INC.,                     §
                                                   §
             Defendants.                           §

                                      PROTECTIVE ORDER
         WHEREAS, Plaintiff Decapolis Systems, LLC and Defendants MedSys Group, LLC, Tenet

  Healthcare Corporation, and UHS of Delaware, Inc., hereafter referred to as “the Parties,” believe

  that certain information that is or will be encompassed by discovery demands by the Parties

  involves the production or disclosure of trade secrets, confidential business information, or other

  proprietary information;

         WHEREAS, the Parties seek a protective order limiting disclosure thereof in accordance with

  Federal Rule of Civil Procedure 26(c):

         THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

  1.     Each Party may designate as confidential for protection under this Order, in whole or in part,

         any document, information or material that constitutes or includes, in whole or in part,

         confidential or proprietary information or trade secrets of the Party or a Third Party to whom

         the Party reasonably believes it owes an obligation of confidentiality with respect to such

         document, information or material (“Protected Material”). Protected Material shall be




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        designated by the Party producing it by affixing a legend or stamp on such document,

        information or material as follows: “CONFIDENTIAL.” The word “CONFIDENTIAL”

        shall be placed clearly on each page of the Protected Material (except deposition and hearing

        transcripts) for which such protection is sought. For deposition and hearing transcripts, the

        word “CONFIDENTIAL” shall be placed on the cover page of the transcript (if not already

        present on the cover page of the transcript when received from the court reporter) by each

        attorney receiving a copy of the transcript after that attorney receives notice of the

        designation of some or all of that transcript as “CONFIDENTIAL.” In the case of native

        electronic files produced by a Party, the appropriate designation shall be included on a

        slipsheet along with the corresponding Bates number and file name of the native file as

        “CONFIDENTIAL.”

  2.    Any document produced under Patent Rules 2-2, 3-2, and/or 3-4 before issuance of this

        Order with the designation “Confidential” or “Confidential - Outside Attorneys’ Eyes Only”

        shall receive the same treatment as if designated “CONFIDENTIAL - OUTSIDE

        ATTORNEYS’ EYES ONLY” under this Order, unless and until such document is

        redesignated to have a different classification under this Order.

  3.    With respect to documents, information or material designated “CONFIDENTIAL,

        “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,” “CONFIDENTIAL - OUTSIDE

        ATTORNEYS’         EYES      ONLY,”       or    “CONFIDENTIAL          SOURCE       CODE”

        (“DESIGNATED MATERIAL”),1 subject to the provisions herein and unless otherwise




        1
            The term DESIGNATED MATERIAL is used throughout this Protective Order to refer
  to the class of materials designated as “CONFIDENTIAL,” “CONFIDENTIAL – ATTORNEYS’
  EYES ONLY,” “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY,” or
  “CONFIDENTIAL SOURCE CODE,” individually and collectively.


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       stated, this Order governs, without limitation: (a) all documents, electronically stored

       information, and/or things as defined by the Federal Rules of Civil Procedure; (b) all

       pretrial, hearing or deposition testimony, or documents marked as exhibits or for

       identification in depositions and hearings; (c) pretrial pleadings, exhibits to pleadings and

       other court filings; (d) affidavits; and (e) stipulations. All copies, reproductions, extracts,

       digests and complete or partial summaries prepared from any DESIGNATED

       MATERIALS shall also be considered DESIGNATED MATERIAL and treated as such

       under this Order.

  4.   A designation of Protected Material (i.e., “CONFIDENTIAL,” “CONFIDENTIAL

       ATTORNEYS’ EYES ONLY,” “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES

       ONLY,” or “CONFIDENTIAL SOURCE CODE”) may be made at any time. Inadvertent

       or unintentional production of documents, information or material that has not been

       designated as DESIGNATED MATERIAL shall not be deemed a waiver in whole or in part

       of a claim for confidential treatment. Any party that inadvertently or unintentionally

       produces Protected Material without designating it as DESIGNATED MATERIAL may

       request destruction of that Protected Material by notifying the recipient(s), as soon as

       reasonably possible after the producing Party becomes aware of the inadvertent or

       unintentional disclosure, and providing replacement Protected Material that is properly

       designated. The recipient(s) shall then destroy all copies of the inadvertently or

       unintentionally produced Protected Materials and any documents, information, or material

       derived from or based thereon. The recipient must treat the materials pursuant to the

       designation as dictated by the producing Party once the producing Party notifies the

       recipient of the proper designation and not wait until receipt of the replacement production.




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       If the receiving Party has already disclosed mislabeled material, the receiving Party agrees

       to notify the recipient to which the materials was disclosed along with an instruction that

       the recipient destroy all copies of such mislabeled material, including, to the extent the

       recipient is not qualified to view the material under the revised designation, any notes or

       other documents reflecting the content of such material.

  5.   “CONFIDENTIAL” documents, information and material may be disclosed only to the

       following persons, except upon receipt of the prior written consent of the designating party,

       upon order of the Court, or as set forth in paragraph 15 herein:

       (a)    outside counsel of record in this Action for the Parties;

       (b)    employees of such counsel assigned to and reasonably necessary to assist such
              counsel in the litigation of this Action;

       (c)    in-house counsel for the Parties or their indemnitors who either have responsibility
              for making decisions dealing directly with the litigation of this Action, or who are
              assisting outside counsel in the litigation of this Action;

       (d)    up to and including four (4) designated employee or indemnitor of each of the
              Parties to the extent reasonably necessary for the litigation of this Action, except
              that any party may in good faith request the other party’s consent to designate
              one or more additional representatives, the other party shall not unreasonably
              withhold such consent, and the requesting party may seek leave of Court to
              designate such additional employee or indemnitor if the requesting party believes
              the other party has unreasonably withheld such consent;

       (e)    outside consultants or experts (i.e., not existing employees or affiliates of a Party)
              retained for the purpose of this litigation, provided that: (1) such consultants or
              experts are not presently employed by the Parties hereto for purposes other than
              this Action; (2) before access is given, the consultant or expert has completed the
              Undertaking attached as Exhibit A hereto and the same is served upon the
              producing Party with a current curriculum vitae of the consultant or expert,
              including a list of other cases in which the individual has provided a report or
              testified (at trial or deposition) and a list of companies that the individual has been
              employed by or provided consulting services pertaining to the field of the invention
              of the patent(s)-in-suit or the products accused of infringement within the last five
              (5) years and a brief description of the subject matter of the consultancy or
              employment, at least ten (10) days before access to the Protected Material is to be
              given to that consultant or expert to object to and notify the receiving Party in



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              writing that it objects to disclosure of Protected Material to the consultant or expert.
              The Parties agree to promptly confer and use good faith to resolve any such
              objection. If the Parties are unable to resolve any objection, the objecting Party
              may file a motion with the Court within fifteen (15) days of receipt of the notice, or
              within such other time as the Parties may agree, seeking a protective order with
              respect to the proposed disclosure. The objecting Party shall have the burden of
              proving the need for a protective order. No disclosure shall occur until all such
              objections are resolved by agreement or Court order;

       (f)    independent litigation support services, including persons working for or as court
              reporters, graphics or design services, jury or trial consulting services, and
              photocopy, document imaging, and database services retained by counsel and
              reasonably necessary to assist counsel with the litigation of this Action;

       (g)    the Court and its personnel;

       (h)    Any designated arbitrator or mediator who is assigned to hear this matter and who
              has read this Order in advance of disclosure and has executed the Undertaking
              attached as Appendix A, and such executed exhibit is provided to the producing
              Party; and

       (i)    Such other persons as hereafter may be designated by written agreement of the
              Parties or by Order of the Court.

  6.   A Party shall designate documents, information or material as “CONFIDENTIAL” only

       upon a good faith belief that the documents, information or material contains confidential

       or proprietary information or trade secrets of the Party or a Third Party to whom the Party

       reasonably believes it owes an obligation of confidentiality with respect to such documents,

       information or material.

  7.   Documents, information or material produced in this Action, including but not limited to

       Protected Material designated as DESIGNATED MATERIAL, shall be used by the Parties

       only in the litigation of this Action and shall not be used for any other purpose. Any person

       or entity who obtains access to DESIGNATED MATERIAL or the contents thereof

       pursuant to this Order shall not make any copies, duplicates, extracts, summaries or

       descriptions of such DESIGNATED MATERIAL or any portion thereof except as may be




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        reasonably necessary in the litigation of this Action. Any such copies, duplicates, extracts,

        summaries or descriptions shall be classified DESIGNATED MATERIALS and subject to

        all of the terms and conditions of this Order.

  8.    To the extent a producing Party believes that certain Protected Material qualifying to be

        designated CONFIDENTIAL is so sensitive that its dissemination deserves even further

        limitation, including but not limited to confidential research, development, or other

        technical information, or if the materials are commercially sensitive to the Party, the

        producing Party may designate such Protected Material “CONFIDENTIAL –

        ATTORNEYS’ EYES ONLY,” or to the extent such Protected Material includes computer

        frameworks, architecture, databases, source code, object code (i.e., a text listing of

        computer instructions, commands and data definitions expressed in a form suitable for

        input to an assembler, compiler, or other translator) to be compiled or assembled into an

        executable computer program, and/or live data (that is, data as it exists residing in a

        database or databases) (“Source Code Material”), the producing Party may designate such

        Protected Material as “CONFIDENTIAL SOURCE CODE.”

  9.    For Protected Material designated CONFIDENTIAL -- ATTORNEYS’ EYES ONLY,

        access to, and disclosure of, such Protected Material shall be limited to individuals listed

        in paragraphs 5(a-c) and (e-i); provided, however, that access by in-house counsel pursuant

        to paragraph 5(c) be limited to in-house counsel who exercise no competitive decision-

        making authority on behalf of the client or indemnitor.

  10.   For Protected Material designated CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES

        ONLY, access to, and disclosure of, such Protected Material shall be limited to individuals

        listed in paragraphs 5(a–b) and (e–i); provided, however, that the designating Party shall




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         accommodate reasonable requests to provide summary information to in-house counsel

         designated pursuant to paragraph 5(c) who exercise no competitive decision-making

         authority on behalf of the client or indemnitor and reasonably require access to such

         information.

  11.    For Protected Material designated CONFIDENTIAL SOURCE CODE, the following

         additional restrictions apply:

         (a)     Access to a producing Party’s Source Code Material shall be provided only on one
                 “stand-alone” computer2 (that is, the computer may not be linked to any network,
                 including a local area network (“LAN”), an intranet or the Internet), available in a
                 fixed location of the producing Party’s choosing, and shall have all USB ports and
                 other ports capable of transferring files stored on the computer disabled while the
                 computer is being used by the receiving Party. The stand-alone computer(s) may
                 be connected to a printer solely for the limited purposes permitted pursuant to
                 paragraphs 11 (h and k) below. Additionally, except as provided in paragraph 11(k)
                 below, the stand-alone computer(s) may only be located at the offices of the
                 producing Party’s outside counsel or as otherwise mutually agreed;

         (b)     The receiving Party shall make reasonable efforts to restrict its requests for such
                 access to the stand-alone computer(s) to normal business hours, which for purposes
                 of this paragraph shall be 9:00 a.m. through 5:00 p.m. However, upon reasonable
                 notice from the receiving party, the producing Party may make reasonable efforts to
                 accommodate the receiving Party’s request for access to the stand-alone computer(s)
                 outside of normal business hours. The Parties agree to cooperate in good faith such
                 that maintaining the producing Party’s Source Code Material at the offices of its
                 outside counsel shall not unreasonably hinder the receiving Party’s ability to
                 efficiently and effectively conduct the prosecution or defense of this Action. The
                 receiving Party shall provide not less than fifteen (15) business days’ notice in
                 advance of the first requested inspection and five (5) business days’ notice prior to
                 any additional inspections;

         (c)     The producing Party shall provide the receiving Party with information explaining
                 how to start, log on to, and operate the stand-alone computer(s) in order to access the
                 produced Source Code Material on the stand-alone computer(s). The producing
                 Party shall install software tools that are sufficient for viewing and searching the
                 produced Source Code Material. The receiving Party may request to use additional
                 commercially available software tools of its choice to view and search the source

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   In the event the receiving Party believes an additional source code computer is needed for review,
  Parties will agree to meet and confer regarding the provision of one additional source code
  computer.


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                 code provided; however, those software tools must be provided by the receiving
                 Party and the receiving Party must have acquired the appropriate licenses for their
                 use. Such software tools and any installation materials must be provided by the
                 receiving Party at the receiving Party’s cost, and least ten (10) business days in
                 advance of the date upon which the receiving Party wishes to have the software
                 tools available for use. The producing Party shall install the software tools on the
                 stand alone computer by the requested date and time of inspection;

         (d)     The producing Party will produce Source Code Material in computer searchable
                 format as kept in the normal course of business on the stand-alone computer(s) as
                 described above, but need not produce executable code absent further agreement
                 of the parties or order of the Court;

         (e)     Access to Protected Material designated RESTRICTED CONFIDENTIAL -
                 SOURCE CODE shall be limited to outside counsel and up to two (2) outside
                 consultants or experts3 (i.e., not existing employees or affiliates of a Party or an
                 affiliate of a Party or competitor identified by the Producing Party with reasonable
                 specificity) retained for the purpose of this litigation and approved to access such
                 Protected Materials pursuant to paragraph 5(e) above. A receiving Party may
                 include excerpts of Source Code Material in a pleading, exhibit, expert report,
                 discovery document, deposition transcript, or other Court document, (collectively,
                 “Source Code Exhibits”), provided that the Source Code Exhibits are appropriately
                 marked under this Order, restricted to those who are entitled to have access to them
                 as specified herein, and, if filed with the Court, filed under seal in accordance with
                 the Court’s rules, procedures and orders;

         (f)     To the extent portions of Source Code Material are quoted in a Source Code
                 Exhibit, either (1) the entire Source Code Document will be stamped and treated as
                 CONFIDENTIAL SOURCE CODE or (2) those pages containing quoted Source
                 Code Material will be separately stamped and treated as CONFIDENTIAL
                 SOURCE CODE;

         (g)     Except as set forth in paragraph 11(k) below, no electronic copies of Source Code
                 Material shall be made without prior written consent of the producing Party, except
                 as necessary to create documents which, pursuant to the Court’s rules, procedures
                 and order, must be filed or served electronically;

         (h)     The receiving Party shall be permitted to make a reasonable number of printouts and
                 photocopies of a reasonable amount of Source Code Material after informing the

         3
           For the purposes of this paragraph, an outside consultant or expert is defined to include
  the outside consultant’s or expert’s direct reports and other support personnel, such that the
  disclosure to a consultant or expert who employs others within his or her firm to help in his or her
  analysis shall count as a disclosure to a single consultant or expert, provided that such personnel
  helping in the analysis of Source Code Material shall be disclosed pursuant to Paragraph 5(e).


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               producing Party’s counsel which Source Code Material it wishes to print or copy.
               A reasonable amount of Source Code Material shall be deemed to be no more than
               25 pages of a continuous block of Source Code Material and no more than 300
               pages total of Source Code Material (single spaced 12 point font). A reasonable
               number of printouts shall be deemed to be no more than ten (10), all of which shall
               be designated and clearly labeled “CONFIDENTIAL SOURCE CODE,” and the
               receiving Party shall maintain a log of all such files that are printed or photocopied.
               The receiving Party shall be permitted to move the Court for the ability to print
               additional Source Code Material, or to make additional copies, but only for good
               cause shown;

        (i)    Should such printouts or photocopies be permissibly transferred back to electronic
               media, such media shall be labeled “CONFIDENTIAL SOURCE CODE” and
               shall continue to be treated as such;

        (j)    If the receiving Party’s outside counsel, consultants, or experts obtain printouts or
               photocopies of Source Code Material, the receiving Party shall ensure that such
               outside counsel, consultants, or experts keep the printouts or photocopies in a
               secured locked area in the offices of such outside counsel, consultants, or expert.
               The receiving Party may also temporarily keep the printouts or photocopies at: (i) the
               Court for any proceedings(s) relating to the Source Code Material, for the dates
               associated with the proceeding(s); (ii) the sites where any deposition(s) relating to
               the Source Code Material are taken, for the dates associated with the deposition(s);
               and (iii) any intermediate location reasonably necessary to transport the printouts or
               photocopies (e.g., a hotel prior to a Court proceeding or deposition);

        (k)    A producing Party’s Source Code Material may only be transported by the receiving
               Party at the direction of a person authorized under paragraph 11(e) above to another
               person authorized under paragraph 10(e) above, on paper via hand carry, Federal
               Express, or other similarly reliable courier. Source Code Material may not be
               transported or transmitted electronically over a network of any kind, including a
               LAN, an intranet, or the Internet; and

        (l)    A receiving Party that intends to use Source Code Material or Source Code
               Documents at a deposition may make only as many copies and only for the specific
               pages as the receiving Party intends to actually use at the deposition. Counsel for
               the party taking the deposition shall refer to each page used at the deposition by
               Bates number, collect and retain the original of any such exhibits, which shall not
               be appended to the transcript of the deposition.

  12.   Any attorney representing a Party, whether in-house or outside counsel, and any person

        associated with a Party and permitted to receive the other Party’s Protected Material that is

        designated CONFIDENTIAL -- ATTORNEYS’ EYES ONLY, CONFIDENTIAL -



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        OUTSIDE ATTORNEYS’ EYES ONLY, and/or CONFIDENTIAL SOURCE CODE

        (collectively “HIGHLY SENSITIVE MATERIAL”), who obtains, receives, has access to,

        or otherwise learns, in whole or in part, the other Party’s HIGHLY SENSITIVE

        MATERIAL under this Order shall not prepare, prosecute, supervise, or assist in the

        preparation or prosecution of any patent application pertaining to the field of the invention

        of the patents-in-suit during the pendency of this Action and for two (2) years after its

        conclusion, including any appeals. To ensure compliance with the purpose of this provision,

        each Party shall create an “Ethical Wall” between those persons with access to HIGHLY

        SENSITIVE MATERIAL and any individuals who, prepare, prosecute, supervise or assist

        in the preparation or prosecution of any patent application pertaining to the field of invention

        of the patent-in-suit. Nothing in this Order shall prevent a person with access to HIGHLY

        SENSITIVE MATERIAL from participating in a PTO proceeding, e.g., IPR or PGR,

        except for that person shall not participate—directly or indirectly—in the amendment of

        any claim(s).

  13.   Nothing in this Order shall require production of documents, information or other material

        that a Party contends is protected from disclosure by the attorney-client privilege, the work

        product doctrine, or other privilege, doctrine, or immunity. If documents, information or

        other material subject to a claim of attorney-client privilege, work product doctrine, or other

        privilege, doctrine, or immunity is inadvertently or unintentionally produced, such

        production shall in no way prejudice or otherwise constitute a waiver of, or estoppel as to,

        any such privilege, doctrine, or immunity. Any Party that inadvertently or unintentionally

        produces documents, information, or other material it reasonably believes are protected

        under the attorney-client privilege, work product doctrine, or other privilege, doctrine, or




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        immunity may obtain the return of such documents, information or other material by

        promptly notifying the recipient(s) and providing a privilege log for the inadvertently or

        unintentionally produced documents, information or other material. The recipient(s) shall

        gather and return all copies of such documents, information or other material to the

        producing Party, except for any pages containing privileged or otherwise protected markings

        by the recipient(s), which pages shall instead be destroyed and certified as such to the

        producing Party.

  14.   There shall be no disclosure of any DESIGNATED MATERIAL by any person authorized

        to have access thereto to any person who is not authorized for such access under this Order.

        The Parties are hereby ORDERED to safeguard all such documents, information and

        material to protect against disclosure to any unauthorized persons or entities.

  15.   Nothing contained herein shall be construed to prejudice any Party’s right to use any

        DESIGNATED MATERIAL in taking testimony at any deposition or hearing provided that

        the DESIGNATED MATERIAL is only disclosed to a person(s) who is: (i) eligible to have

        access to the DESIGNATED MATERIAL by virtue of his or her employment with the

        designating party, (ii) identified in the DESIGNATED MATERIAL as an author, addressee,

        or copy recipient of such information, (iii) although not identified as an author, addressee,

        or copy recipient of such DESIGNATED MATERIAL, has, in the ordinary course of

        business, seen such DESIGNATED MATERIAL, (iv) a current or former officer, director

        or employee of the producing Party or a current or former officer, director or employee of

        a company affiliated with the producing Party; (v) counsel for a Party, including outside

        counsel and in-house counsel (subject to paragraph 9 of this Order); (vi) an independent

        contractor, consultant, and/or expert retained for the purpose of this litigation and




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        qualified to view such DESIGNATED MATERIAL under the terms of this Order; (vii)

        court reporters and videographers; (viii) the Court; or (ix) other persons entitled hereunder

        to access to DESIGNATED MATERIAL. DESIGNATED MATERIAL shall not be

        disclosed to any other persons unless prior authorization is obtained from counsel

        representing the producing Party or from the Court. During such time as DESIGNATED

        MATERIAL is used at a deposition, any person in attendance at the deposition not

        qualified to view such material under the terms of this Order may be excluded by the

        producing Party. Any video, DVD, audio, or other recorded versions of depositions shall

        have the same designation as the corresponding transcript and shall be marked as such.

  16.   Parties may, at the deposition or hearing or within thirty (30) days after receipt of a

        deposition or hearing transcript, designate the deposition or hearing transcript or any portion

        thereof as “CONFIDENTIAL,” “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,”

        “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL -

        SOURCE CODE” pursuant to this Order. Access to the deposition or hearing transcript so

        designated shall be limited in accordance with the terms of this Order. Until expiration of

        the 30-day period, the entire deposition or hearing transcript shall be treated as

        CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY.

  17.   Any DESIGNATED MATERIAL that is filed with the Court shall be filed under seal and

        shall remain under seal until further order of the Court. The filing party shall be responsible

        for informing the Clerk of the Court that the filing should be sealed and for placing the

        legend “FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER” above the

        caption and conspicuously on each page of the filing. Exhibits to a filing shall conform to

        the labeling requirements set forth in this Order. If a pretrial pleading filed with the Court,




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        or an exhibit thereto, discloses or relies on DESIGNATED MATERIAL, such confidential

        portions shall be redacted to the extent necessary and the pleading or exhibit filed publicly

        with the Court.

  18.   The Order applies to pretrial discovery. Nothing in this Order shall be deemed to prevent

        the Parties from introducing any DESIGNATED MATERIAL into evidence at the trial of

        this Action, or from using any information contained in DESIGNATED MATERIAL at

        the trial of this Action, subject to any pretrial order issued by this Court. The producing

        Party may request that the Court close the courtroom for any use of HIGHLY SENSITIVE

        MATERIAL and maintain such trial exhibits and corresponding trial testimony under seal.

  19.   A Party may request in writing to the other Party that the designation given to any

        DESIGNATED MATERIAL be modified or withdrawn. If the designating Party does not

        agree to redesignation within ten (10) days of receipt of the written request, the requesting

        Party may apply to the Court for relief. Upon any such application to the Court, the burden

        shall be on the designating Party to show why its classification is proper. Such application

        shall be treated procedurally as a motion to compel pursuant to Federal Rule of Civil

        Procedure 37, subject to the Rule’s provisions relating to sanctions. In making such

        application, the requirements of the Federal Rules of Civil Procedure and the Local Rules

        of the Court shall be met. Pending the Court’s determination of the application, the

        designation of the designating Party shall be maintained.

  20.   Each outside consultant or expert to whom DESIGNATED MATERIAL is disclosed in

        accordance with the terms of this Order shall be advised by counsel of the terms of this

        Order, shall be informed that he or she is subject to the terms and conditions of this Order,

        and shall sign an acknowledgment that he or she has received a copy of, has read, and has




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        agreed to be bound by this Order. A copy of the acknowledgment form is attached as

        Appendix A.

  21.   To the extent that any discovery is taken of persons who are not Parties to this Action

        (“Third Parties”) and in the event that such Third Parties contended the discovery sought

        involves trade secrets, confidential business information, or other proprietary information,

        then such Third Parties may agree to be bound by this Order.

  22.   To the extent that discovery or testimony is taken of Third Parties, the Third Parties may

        designate as “CONFIDENTIAL,” “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,”

        or   “CONFIDENTIAL         -   OUTSIDE        ATTORNEYS’        EYES     ONLY,”      and/or

        “CONFIDENTIAL - SOURCE CODE” any documents, information or other material, in

        whole or in part, produced or given by such Third Parties. The Third Parties shall have ten

        (10) days after production of such documents, information or other materials to make such

        a designation. Until that time period lapses or until such a designation has been made,

        whichever occurs sooner, all documents, information or other material so produced or given

        shall be treated as “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY” in

        accordance with this Order.

  23.   Within thirty (30) days of final termination of this Action, including any appeals, all

        DESIGNATED MATERIAL, including all copies, duplicates, abstracts, indexes, summaries,

        descriptions, and excerpts or extracts thereof (excluding excerpts or extracts incorporated

        into any privileged memoranda of the Parties and materials which have been admitted into

        evidence in this Action), shall at the producing Party’s election either be returned to the

        producing Party or be destroyed, except that each counsel or record may maintain archived

        copies of all pleadings, correspondence, expert reports, deposition transcripts, deposition




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        exhibits, trial transcripts, and trial exhibits, together with any attorney work product

        provided that any such archive copy remains appropriately marked and stored in

        accordance with the provisions of this Order. The receiving Party shall verify the return

        or destruction by affidavit furnished to the producing Party, upon the producing Party’s

        request.

  24.   The failure to designate documents, information or material in accordance with this Order

        and the failure to object to a designation at a given time shall not preclude the filing of a

        motion at a later date seeking to impose such designation or challenging the propriety

        thereof. The entry of this Order and/or the production of documents, information or

        material hereunder shall in no way constitute a waiver of any objection to the furnishing

        thereof, all such objections being hereby preserved.

  25.   Any Party knowing or believing that any other party is in violation of or intends to violate

        this Order and has raised the question of violation or potential violation with the opposing

        party and has been unable to resolve the matter by agreement may move the Court for such

        relief as may be appropriate in the circumstances. Pending disposition of the motion by the

        Court, the Party alleged to be in violation of or intending to violate this Order shall

        discontinue the performance of and/or shall not undertake the further performance of any

        action alleged to constitute a violation of this Order.

  26.   Production of DESIGNATED MATERIAL by any Party shall not be deemed a

        publication of the documents, information, or material (or the contents thereof) produced

        so as to void or make voidable whatever claim the Parties may have as to the proprietary and

        confidential nature of the documents, information, or other material or its contents.

  27.   Nothing in this Order shall be construed to effect an abrogation, waiver, or limitation of any




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        kind on the rights of each of the Parties to assert any applicable discovery or trial privilege.

  28.   Each of the Parties shall also retain the right to file a motion with the Court (a) to modify this

        Order to allow disclosure of DESIGNATED MATERIAL to additional persons or entities

        if reasonably necessary to prepare and present this Action; and (b) to apply for additional

        protection of DESIGNATED MATERIAL.



  29.   Nothing in this Order shall bar counsel from rendering advice to their clients with respect

        to this litigation and, in the course thereof, relying upon any information designated as

        DESIGNATED MATERIAL, provided that the contents of the information shall not be

        disclosed.



  30.   Nothing herein is intended to prohibit or restrict in any way a Party’s (or its attorneys’)

        use or distribution of its own information.



  31.   If any Party is subpoenaed in another action, served with a demand in another action to

        which it is a Party, or is served by any legal process by one not a Party to this Action,

        seeking information that was designated as “CONFIDENTIAL,” “CONFIDENTIAL

        ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL SOURCE CODE: by someone

        other than that Party, the Party shall give written notice within ten (10) days of receipt of

        such subpoena, demand, or legal process to the producing Party, and shall object to its

        production to the extent permitted by law, setting forth the existence and terms of this

        Protective Order. Nothing herein shall be construed as requiring the Party or anyone else

        covered by this Protective Order to challenge or appeal any order requiring production of

        information subject to this Protective Order, or subject to any penalties for noncompliance


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        with any legal process or order, or to seek relief from this Court.
        SIGNED this 3rd day of January, 2012.
        SIGNED this 17th day of August, 2022.




                                                      ____________________________________
                                                      ROY S. PAYNE
                                                      UNITED STATES MAGISTRATE JUDGE




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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


   Decapolis Systems, LLC,

               Plaintiff,
                                                             Case No. 2:22-cv-146
               v.

   MedSys Group, LLC, Tenet Healthcare
   Corporation, and UHS of Delaware, Inc.,

                Defendants.


                                APPENDIX A
             UNDERTAKING OF EXPERTS OR CONSULTANTS REGARDING
                            PROTECTIVE ORDER


        I,                                                       , declare that:

  1.    My address is                                                                              .

        My current employer is                                                                  .

        My current occupation is                                                                   .

  2.    I have received a copy of the Protective Order in this action. I have carefully read and

        understand the provisions of the Protective Order.

  3.    I will comply with all of the provisions of the Protective Order. I will hold in confidence,

        will not disclose to anyone not qualified under the Protective Order, and will use only for

        purposes of this action any information designated as “CONFIDENTIAL,”

        “CONFIDENTIAL -- ATTORNEYS’ EYES ONLY,” “CONFIDENTIAL - OUTSIDE

        ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL SOURCE CODE” that is




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         disclosed to me.

  4.     Promptly upon termination of these actions, I will return all documents and things

         designated as “CONFIDENTIAL,” “CONFIDENTIAL -- ATTORNEYS’ EYES

         ONLY,” “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY,” or

         “CONFIDENTIAL SOURCE CODE” that came into my possession, and all documents

         and things that I have prepared relating thereto, to the outside counsel for the party by

         whom I am employed.

  5.     I hereby submit to the jurisdiction of this Court for the purpose of enforcement of the

         Protective Order in this action.

         I declare under penalty of perjury that the foregoing is true and correct.



  Signature

  Date




                                                   2
